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 7
                               IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                         )       No. CR-S-11-190 MCE
                                                       )
11                                                     )
               Plaintiff,                              )       STIPULATION REGARDING
12                                                     )       EXCLUDABLE TIME PERIODS
     v.                                                )       UNDER SPEEDY TRIAL ACT;
13                                                     )       ORDER
     NICHOLAS RAMIREZ, et al.,                         )
14                                                     )       Date: July 7, 2016
                                                       )       Time: 10:00 a.m.
15             Defendants.                             )       Judge: Honorable Morrison C. England, Jr.
                                                       )
16                                                     )
                                                       )
17

18             The United States of America through its undersigned counsel, Jason Hitt, Assistant
19   United States Attorney, together with counsel for defendant Manuel Keith, Jan David Karowsky,
20   Esq. hereby stipulate to the following:
21
          1. By previous order, this matter was set for status conference on July 7, 2016.
22
          2. By this stipulation, Manuel Keith now moves to continue the status conference until
23
     August 11, 2016 and to exclude time between July 7, 2016 and August 11, 2016 under the Local
24
     Code T-2 and T-4.
25
          3.   The parties agree and stipulate and request the Court find the following:
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               a. At the status conference in this case, on November 20, 2015, it was expected by all
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                   parties that Mr. Keith would be entering a guilty plea pursuant to a written plea
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 1      agreement, to which all parties had agreed. However, on November 18, 2015,
 2      counsel was informed that Mr. Keith had been detained in New York City on certain
 3      criminal charges. Counsel has inquired of the attorney representing Mr. Keith on the
 4
        New York charges, and has been informed that he still remains detained, since he has
 5
        not been able to post bail. I am currently in touch with Mr. Keith’s attorney in New
 6
        York City who informs me is still trying to determine the most efficient manner in
 7
        which to proceed in both the New York case and the instant case. That attorney is
 8
        attempting to negotiate with the local prosecutor, but will not have any relevant
 9
        information for a number of weeks. Previously, I telephoned the office of United
10
        States Attorney for the Southern District of New York and spoke to the Deputy Chief
11
        of the Criminal Division concerning what was required to accomplish a Rule 20
12
        transfer of the instant action to New York for disposition by way of a guilty plea to
13
        the pending plea agreement. Currently, AUSA Hitt and I are attempting to
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15
        accomplish a Rule 20 transfer to New York, but will need a number of weeks more to

16      accomplish that transfer. Therefore, Mr. Keith requests a continuance of the status

17      conference to August 11, 2016, by which time it is hoped the Rule 20 transfer will

18      have been accomplished.

19   b. The Government does not object to the continuance.
20   c. Based on the above-stated findings, the ends of justice served by granting the
21      requested continuance outweigh the best interests of the public and the defendant in a
22      speedy trial within the original date prescribed by the Speedy Trial Act.
23
     d. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
24
        Section 3161(h)(7)(A) within which trial must commence, the time period from July
25
        7, 2016 through August 11, 2016 inclusive, is deemed excludable pursuant to 18
26
        United States Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to
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        Local Code T-2 and T-4 because it results from a continuance granted by the Court at
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        defendant’s request on the basis of the Court’s finding that the ends of justice served

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 1              by taking such action outweigh the best interest of the public and the defendant in a
 2              speedy trial.
 3     4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
 4
            Speedy Trial Act dictate that additional time periods are excludable from the period within
 5
            which a trial must commence.
 6
     IT IS SO STIPULATED.
 7

 8   DATED:         June 29, 2016                          PHILLIP TALBERT
                                                           Acting United States Attorney
 9

10                                                         /s/ Jason Hitt
                                                  by
11                                                         Jason Hitt
                                                           Assistant U.S. Attorney
12
                                                           by Jan David Karowsky
13                                                         w/ Mr. Hitt’s consent

14

15
     DATED:         June 29, 2016                          JAN DAVID KAROWSKY
                                                           Attorney at Law
16                                                         A Professional Corporation
17                                                         /s/ Jan Karowsky
18
                                                  by
                                                           JAN DAVID KAROWSKY
19                                                         Attorney for Defendant
                                                           Manuel Keith
20

21                                               ORDER
22
            IT IS SO ORDERED.
23

24   Dated: June 29, 2016
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